
' On Application for Rehearing.
-PER CURIAM.
The accused urges on application for rehearing that Article 67 of the Criminal Code was partially repealed by the enactment of R.S. 14:67.1, and that the decision of this court is contrary to the holding in the case of State v. Young, 165 La. 120, 115 So. 407. We consider that the opinion hereinbefore rendered amply answers the argument on partial repeal, and the decision of State v. Young, supra, is no longer the law of this state. See Article 4 of the Criminal Code, R.S. 14:4, and the comments of the reporters of the Criminal Code wherein it is shown that the dissent of former Chief Justice O’Niell in the Young case was the basis for the provisions of Article 4 of the Code.
Rehearing refused.
